









Petition for Writ of Mandamus Denied and Opinion filed October 10, 2002









Petition for Writ of Mandamus Denied and Opinion filed
October 10, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-01034-CV

____________

&nbsp;

IN RE JIMMIE RICHARDSON, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

O P I N I O N

On October 7, 2002, relator filed a petition
for writ of mandamus in this Court.&nbsp; See
Tex. Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002); see
also Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Opinion filed October 10, 2002.

Panel consists of
Chief Justice Brister and Justices Hudson and Fowler.&nbsp; 

Do Not Publish ‑ Tex. R. App. P. 47.3(b).





